      Case 1:05-cr-01849-JCH          Document 664-1         Filed 08/30/06      Page 1 of 4




                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
       vs.                                            )              Cr. No. 05-1849 JH
                                                      )
DANA JARVIS,                                          )
                                                      )
               Defendant.                             )

                 ORDER FOR PRIVATE JUDICIAL INTERLOCUTORY SALE
             OF REAL PROPERTY AND PREMISES AND LIQUOR LICENSE 2599

       This matter is before the Court on the United States’ Motion For Interlocutory Sale. The

Court finds that the real property located at 3523 Central NE, Albuquerque, New Mexico, and

New Mexico liquor license number 2599 are subject to waste , deterioration and decay. The

Court is authorized, upon application of the United States, to "take any…action to preserve the

availability of property…for forfeiture." 21 U.S.C. § 853(e)(1)(A), incorporated by 18 U.S.C.

§ 982(b)(1).

       The Court further finds, pursuant to 28 U.S.C. § 2001(b), that the best interests of the

estate will be conserved by a private sale of the defendant property rather than a public sale.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED as follows:

       1.       The United States Marshals service shall immediately seize and take into custody

the real property and the liquor license. The United States Marshals Service is authorized to take

all reasonable steps it deems necessary to protect and preserve the property.

       2.       The defendant real property and premises, including improvements and fixtures

thereon appurtenances thereto, as more fully described in the United States’ Motion for
         Case 1:05-cr-01849-JCH         Document 664-1        Filed 08/30/06       Page 2 of 4




Interlocutory Sale, incorporated herein by reference, and liquor license 2599 shall be sold as

provided by 28 U.S.C. §§ 2001(b) and 2004.

          3.      The United States Marshals Service is authorized to retain a licensed, certified

real estate broker, who shall be paid the usual and customary commission and/or fees from the

proceeds of the sale.

          4.      The following three disinterested appraisers are hereby appointed by the court to

appraise the fair market value of the defendant property:

                 A.      ______________________.

                 B.      ______________________.

                 C.      ______________________.

          The appraisers shall submit their appraisal reports to the United States Marshals Service

no later than                            .

          5.      No private sale shall be confirmed at a price less than two-thirds of the appraised

value of the property, as determined by the court.

          6.      The terms and conditions of the sale shall be as follows:

                 (a)     The sale shall be for cash;

                 (b)     The defendant property shall be sold subject to the following mortgages or

liens:

                         I.     The Note held by First State Bank of New Mexico, including

principal and interest (at the contractual rate) due until the date of payment..

          7.      The United States Marshals Service shall publish the terms of the highest and

best contract of sale offered for the real property and the liquor license in the Albuquerque


                                                   2
         Case 1:05-cr-01849-JCH        Document 664-1         Filed 08/30/06      Page 3 of 4




Journal, a newspaper of general circulation at least ten days before confirmation.

          8.    Such private sale shall not be confirmed if a bona fide offer is made which

guarantees at least ten percent over the price offered in the private sale.

          9.    Any bona fide offer (over bid) that guarantees at least a ten percent increase over

the price offered in the private sale, as published in the newspaper, shall be made in the same

terms and conditions as ordered by the court herein. Such over bid shall be reported by the

United States Marshals Service as the sale price without the need of further publication for

confirmation by the court.

          10.   Thereafter, the United States Marshals Service shall file its report of sale, along

with the reports of the appraisers. The report of sale shall include a statement of the highest and

best offer of contract of sale, and the highest and best over bid, if any, for consideration by the

court.

          11.   Upon the confirmation by the court of the private sale, the United States Marshals

Service shall execute the contract of sale on the terms ordered by the court; proceed to

consummate the sale and shall issue a deed without covenants or warranties, expressed or

implied, to the buyer at such private sale.

          12.   From the proceeds of the sale, the United States Marshals Service shall pay any

real estate commission, closing costs, and other selling expenses; all outstanding state and local

taxes prorated to the date of the sale; all costs incurred by the United States Marshals Service to

maintain the property and the indebtedness owed to First State Bank of New Mexico on its Note

secured by the property.




                                                  3
      Case 1:05-cr-01849-JCH          Document 664-1         Filed 08/30/06     Page 4 of 4




       13.      The remaining net proceeds shall be deposited in United States Marshals Seized

Asset Deposit Fund and shall be substituted as the res in this action.

       14.      The sale of the defendant property shall not be confirmed if the net proceeds of

the sale fail to equal or exceed any expenses of the sale and any mortgages, liens, or taxes

encumbering the defendant property.

       SO ORDERED, this _____ of _______________, 2006.



                                              ___________________________________
                                              HONORABLE JUDITH C. HERRERA
                                              United States District Judge

SUBMITTED BY:

Stephen R. Kotz
Assistant United States Attorney




                                                 4
